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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


     UBIQUITI INC. (f/k/a UBIQUITI
     NETWORKS, INC.),
                           Plaintiff,

                         v.
                                                        Civil Action No.: 1:18-cv-05369
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.;
                                                        JURY TRIAL DEMANDED
     BLIP NETWORKS, LLC;
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and
     DMITRY MOISEEV
                       Defendants.



             UNOPPOSED MOTION OF ATTORNEY JASON J. KEENER TO
              WITHDRAW AS COUNSEL FOR PLAINTIFF UBIQUITI INC.

       Pursuant to Local Rule 83.17 of the United States District Court for the Northern District

of Illinois, the undersigned respectfully requests that this Court permit the undersigned attorney,

Jason J. Keener, to withdraw as counsel for Plaintiff Ubiquiti Inc. in this action. In support of

this Motion, the undersigned states as follows:

       1.      On April 10, 2019, Jason J. Keener of Fox Swibel Levin & Carroll LLP filed his

       appearance in this action on behalf of Plaintiff Ubiquiti Inc., f/k/a Ubiquiti Networks, Inc.

       (“Plaintiff”).

       2.      Mr. Keener has recently departed from and is no longer employed by the law firm

       of Fox Swibel Levin & Carroll LLP, and therefore requests that the Court grant his

       motion to withdraw as counsel for Plaintiff in this action.
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       3.      Plaintiff shall continue to be represented in this action by counsel from the law

       firm of Fox Swibel Levin & Carroll LLP, including counsel of record David E. Koropp

       (appearance filed April 10, 2019, designated as lead counsel and member of trial bar) and

       Erik J. Ives (appearance filed April 10, 2019).

       4.      Granting this motion will not prejudice any party or cause undue delay.

       5.      Counsel of record for Plaintiff and Defendants have indicated that no party

       objects to this motion to withdraw.



       WHEREFORE, the undersigned, Jason J. Keener, respectfully requests that the Court

grant the foregoing motion to withdraw as counsel for Plaintiff in this action.




 Dated: September 20, 2019                            Respectfully submitted,

                                                      JASON J. KEENER

                                                      /s/ Jason J. Keener
                                                      Jason Keener (ARDC #6280337)




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                               CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that on September 20, 2019, he caused the
foregoing document to be electronically filed with the Clerk of the United States District Court
for the Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which
is also served upon counsel for all parties of record.




                                                    /s/ Jason J. Keener
                                                    Jason J. Keener




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